                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


 UNITED STATES OF AMERICA,                             )
                                                       )
                Plaintiff,                             )
                                                       )
 v.                                                    )       No. 3:05-CR-32
                                                       )       (PHILLIPS/GUYTON)
 JEREMY ROBBINS,                                       )
 DIANE SHANDS ROBBINS, and                             )
 VAIRAME TEDESCO,                                      )
                                                       )
                Defendants.                            )


                                MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

 Court as may be appropriate.

                Pursuant to a telephone conference with counsel for the government and defendants

 Jeremy Robbins and Diane Robbins, the defendants move the Court for an Order continuing the

 Briefing Schedule in this case from the current date of May 5, 2006 to May 15, 2006. The

 defendants further move that the United States be given until June 15, 2006 to file its responsive

 brief. The government does not oppose the defendants’ request.

                For good cause shown, the defendants’ Oral Joint Motion to Continue Post Hearing

 Brief Deadlines is GRANTED. The defendants shall have until May 15, 2006 to file a post-




Case 3:05-cr-00032-TAV-HBG           Document 266          Filed 05/09/06     Page 1 of 2      PageID
                                           #: 111
 hearing brief in this matter. The United States shall have until June 15, 2006 to file a responsive

 brief.

                IT IS SO ORDERED.

                                              ENTER:


                                                    s/ H. Bruce Guyton
                                              United States Magistrate Judge




                                                 2


Case 3:05-cr-00032-TAV-HBG           Document 266        Filed 05/09/06     Page 2 of 2      PageID
                                           #: 112
